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LARRY HOEWISCHER, CASE NO.;
Platntlff, jz [l_&l_ QL/, ?__ Qf¢"/an»-_E/v\/

VS.

MEDICREDIT, INC. and KELSEY
MARIE DOE, an individual

Def`endants.

COMPLAINT AND DEMAND FOR JURY TRIAL

COMES NOW Plaintif`f, LARRY HOEWISCHER, by and through undersigned
counsel, and files this Complaint against the Def`endants, MEDICREDIT, INC. and
KELSEY MARIE DOE, an individual, and alleges:

JURISDICTION

l. Jurisdiction of this Court arises under 28 US.C. § 1331 and pursuant to 15
U.S.C. §l692k(d), and pursuant to 28 U.S.C. § 1367 l`or pendent state law claims.

2.‘ This action arises out of repeated violations of the Fair Debt Collection
Practices Act, 15 U.S.C. §1692 et seq. ("FDCPA"), thc Florida Consumer Collection
Practices Act ("FCCPA"), Section 559.55 et seq. ol` the Florida Statutes, and the Florida
Deceptive and Urli`air Trade Practices Act ("FDUTPA"), Section 501.201 et seq. of the
Florida Statutes, by the Del'endants and their agents in their illegal efforts to collect a

consumer debt from the Plaintif`f.

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3. Venue is proper in this District because the acts and transactions occurred

here, Plaintiff resides here, and Defendant transacts business here.
PARTIES

4. Plaintiff is a natural person who resides in Jacksonville, Duval County,
Florida and is a "consumer" as that term is defined by 15 U.S.C. § l692a(3) Sections
559.55(2) and 501 .203(7), Fla. Stat.

5. Defendant. Medicredit, lnc. (hereinafter “Defendant Medicredit”) is a
collection agency operating from an address of 3620 l-70 Dr. SE, Ste. C, Columbia,
Missouri and is a “debt collector” as that term is defined by 15 U.S.C §l692a(6).

6. Defendant Kelsey Marie Doe (hcreinafter “Defendant Doe") is a natural
person who was employed at all times relevant herein by Defendant Medicredit as a
collection agent and is a “debt collector” as that term is defined by 15 U.S.C §l692a(6).

FACTUAL ALLEGATIONS

7. On or about March 6, 2008 Plaintiff incurred a financial obligation that
was primarily for personal, family or household purposes and is therefore a "debt" as that
term is defined by 15 U.S.C. § l692a(5) and Section 559.55(1), Fla. Stat. namely a
medical debt for medical testing done by Signet Diagnostics. Due to a clerical error the
debt was originally rejected but later paid by Plaintiff’s insurancc. Sometime thereafter,
the debt, which had been paid was consigned, placed or otherwise transferred to
Defendant Medicredit for collection from the P|aintiff.

8. On or about October 2010. Plaintiff began receiving phone calls from
Defendant Doe. Plaintiff informed Defendant Doe that the debt had been paid by

Plaintiff`s insurance and gave Defendant Doe the correct check number for reference. ln

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addition, Plaintiff directed all future collection calls to his attorney and gave his
attorney’s phone number.

9. Despite being informed that the debt had been paid, Defendant Doe
continued to attempt to collect on the already paid debt and call the plaintiff despite being
on notice that he was represented by an attorney.

Summa£g

22. All of the above-described collection actions and communications made to
Plaintiff by Defendants and their employees were made in violation of numerous and
multiple provisions of the FDCPA, including but not limited to 15 U.S.C. § l692d,
1692e, 1692e(2), l692e(5) and 1692e(10), amongst others, the FCCPA, including but not
limited to Section 559.72 (6), (7) and (9).

23. Defendants’ illegal abusive collection communications, as more fully
described above, were the direct and proximate cause of emotional distress on the part of
Plaintiff and caused him unnecessary personal strain.

24. Plaintiff has suffered actual damages as a result of these illegal collection
communications by the Defendant in the form of anger, anxiety, emotional distress, fear,
frustration, upset. humiliation, embarrassment, amongst other negative emotions.

TRIAL BY JURY
25. Plaintiff is entitled to and hereby respectfully demands a trial by jury on all issues
so triable. US Const. amend. 7. Fed.R.Civ.P.38.

CLAIMS FOR RELIEF

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COUNT I: VIOLATIONS OF THE FAIR
DEBT COLLECTION PRACTICES ACT
15 U.S.C. § 1692 ct seq.
26. Plaintiff incorporates by reference paragraphs seven (7) through twenty-five (25)
of this Complaint as though fully stated herein.
27. The foregoing acts of Defendants and their agents to collect on the debt
constitute numerous and multiple violations of the FDCPA including, but not limited to,
each and every one of the above-cited provisions of the FDCPA, 15 U.S.C. § 1692 et
seq., with respect to Plaintiff.
28. As a result of Defendants violations of the FDCPA, Plaintiff is entitled to actual
damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an amount up to
$1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)( A): and reasonable attomey's fees and
costs pursuant to 15 U.S.C. § l692k(a)(3), from Defendants.
COUNT TWO: VIOLATIONS OF THE FLORIDA
CONSUMER COLLECTION PRACTICES ACT
Section 559.55 ct seq., Fla. Stat.
29. Plaintiff incorporates by reference paragraphs seven (7) through twenty-five (25)
of this Complaint as though fully stated herein.
30. As a result of Defendants violations of the FCCFA, Plaintiff is entitled to actual
damages and statutory damages in an amount up to $1,000.00 and reasonable attomey's
fees and costs pursuant to Section 559.77 from Defendant.
31. Additional|y, Section 559.77 provides a court may award punitive damages as
well as equitable relief to Plaintiff such as enjoining further illegal collection aetivity.

‘ Respondeat Superior Liability

32. The acts and omissions of these individual collectors, and the other debt collectors

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employed as agents by Defendant Medicredit who communicated with Plaintiff as more
further described herein, were committed within the time and space limits of their agency
relationship with their principal, Defendant Medicredit.

1 33. The acts and omissions by these individual employees were incidental to, or of the
same general nature as, the responsibilities these agents were authorized to perform by
Defendant Medicredit in collecting consumer debts.

34. By committing these acts and omissions against Plaintiff, these individual
collectors were motivated to benefit their principal, Defendant Medicredit.
35. Defendant Medicredit is therefore liable to Plaintiff through the Doctrine of
Respondeat Superior for the intentional and negligent acts, errors, and omissions done in
violation of state and federal law by its collection employees, including but not limited to
violations of the FCCPA in their attempts to collect this debt from Plaintiff.
PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays that judgment be entered against Defendants:
COUNT I: VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES
ACT
15 U.S.C. § 1692 et seq.
0 for an award of` actual damages pursuant to 15 U.S.C. § 1692k(a)(l) against
Defendants and for Plaintiff`;
o for an award of statutory damages of $l,000.00 pursuant to 15 U.S.C.§
l692k(a)(2)(A) against Defendant and for Plaintiff;
0 for an award of costs of litigation and reasonable attomey's fees pursuant to 15

U.S.C. §l692k(a)(3) against Defendants and for Plaintiff; and

0 for such other relief as this Court deemsjust and proper.

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COUNT II: VIOLATIONS OF THE FLORIDA
CONSUMER COLLECT[ON PRACTICES ACT
Section 559.55 et seq., Fla. Stat.
0 for an award of actual damages pursuant to Section 559.77 against Defendants and for
Plaintiff;
0 for an award of statutory damages of $1,000.00 pursuant to Section 559.77 against
Defendants and for Plaintiff;
0 for an award of costs of litigation and reasonable attomey's fees pursuant to Section
559.77 against Defendants and for Plaintiff;
0 for an injunction to enjoin further collection and transfer of the alleged debt and

requiring that the debt be removed from Plaintiff credit reports; and

0 for such other relief as this Court deems just and proper.

  
 
 

COLLINS & STORY, P.A.

  
 

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